        Case 1:06-cr-00038-MP-AK                      Document 226       Filed 02/06/08   Page 1 of 4


 FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                               Page 1 of 4
 1:06CR38-004 - ALAN JESSE CROSSLEY


                                         UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF FLORIDA
                                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                           Case # 1:06CR38-004

ALAN JESSE CROSSLEY
                                                                USM # 20453-017

                                                                Defendant’s Attorney:
                                                                Thomas Edwards (Appointed)
                                                                4545 NW 8th Avenue
                                                                Gainesville, FL 32605
 ___________________________________

                                           JUDGMENT IN A CRIMINAL CASE

 The defendant pled guilty to Count 1 of the Indictment on July 26, 2007. Accordingly, IT IS ORDERED
 that the defendant is adjudged guilty of such count(s) which involve(s) the following offense(s):

       TITLE/SECTION                             NATURE OF                  DATE OFFENSE
          NUMBER                                  OFFENSE                    CONCLUDED               COUNT

  21 U.S.C. § 841(a)(1),            Conspiracy to Manufacture,            September 28, 2006          One
  841(b)(1)(A)(vii) and 846         Distribute and to Possess With
                                    Intent to Distribute 1,000 or More
                                    Marijuana Plants

 The defendant is sentenced as provided in the following pages of this judgment. The sentence is
 imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective subsequent
 to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing Commission.

 Court Four dismissed on the motion of the United States.

 IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
 within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
 and special assessments imposed by this judgment are fully paid.



                                                                   Date of Imposition of Sentence:
                                                                   February 6, 2008


                                                                        s/Maurice M. Paul
                                                                    MAURICE M. PAUL
                                                                    SENIOR UNITED STATES DISTRICT JUDGE

                                                                    February 6, 2008
       Case 1:06-cr-00038-MP-AK                      Document 226       Filed 02/06/08         Page 2 of 4



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                        Page 2 of 4
1:06CR38-004 - ALAN JESSE CROSSLEY


                                                           PROBATION

          The defendant is hereby placed on probation for a term of five (5) years.

          OR bond is exonerated.


        While on probation, the defendant shall not commit another federal, state, or local crime and
shall not illegally possess a firearm, ammunition, or destructive device. The defendant shall also
comply with the standard conditions that have been adopted by this court (set forth below). If this
judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the
defendant pay any such fine or restitution.

        For offenses committed on or after September 13, 1994: The defendant shall refrain from any
unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from placement on probation and at least two periodic drug tests thereafter, as directed by
the probation officer.

          The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                                STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.        the defendant shall not leave the judicial district without the permission of the court or probation officer;

2.        the defendant shall report to the probation officer and shall submit a truthful and complete written report
          within the first five days of each month;

3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
          probation officer;

4.        the defendant shall support his or her dependents and meet other family responsibilities;

5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        the defendant shall notify the probation officer at least 10 days prior to any change in residence or
          employment;

7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute,
          or administer any controlled substance or any paraphernalia related to any controlled substances, except
          as prescribed by a physician;

8.        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
          or administered;
       Case 1:06-cr-00038-MP-AK                      Document 226     Filed 02/06/08         Page 3 of 4



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                      Page 3 of 4
1:06CR38-004 - ALAN JESSE CROSSLEY

9.        the defendant shall not associate with any persons engaged in criminal activity and shall not associate
          with any person convicted of a felony unless granted permission to do so by the probation officer;

10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
          shall permit confiscation of any contraband observed in plain view of the probation officer;

11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
          enforcement officer;

12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant’s criminal record or personal history or characteristics and shall permit the
          probation officer to make such notifications and to confirm the defendant’s compliance with such
          notification requirement.

14.       if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in the
          Criminal Monetary Penalties sheet of this judgment.

15.       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
          weapon.

16.       The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                                ADDITIONAL CONDITIONS OF PROBATION

          The defendant shall also comply with the following additional conditions of probation:

          The defendant shall not own or possess a firearm, dangerous weapon or destructive device.

          The defendant shall remain gainfully employed or actively seek employment while under
          supervision.

          The defendant shall participate in a program of drug and/or alcohol testing, treatment and
          counseling, which may also include in-patient drug treatment.

          The defendant shall participate in the home confinement program for a period of one (1) year
          which will begin as directed by the supervising U.S. Probation Officer. During this time, the
          defendant will remain at his place of residence except for employment and other activities
          approved in advance by the supervising U.S. Probation Officer. The defendant will be subject
          to the standard conditions of home confinement adopted for use in the Northern District of
          Florida. Home confinement will include electronic monitoring with the cost of such monitoring
          to be paid by the defendant.

          Any residence in which the defendant resides shall be subject to inspection for illegal drugs by
          the probation officer and Drug Enforcement Administration.
       Case 1:06-cr-00038-MP-AK                      Document 226   Filed 02/06/08   Page 4 of 4



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                           Page 4 of 4
1:06CR38-004 - ALAN JESSE CROSSLEY




                 Upon a finding of a violation of probation or supervised release, I understand the Court
          may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions
          of supervision.
                 These conditions have been read to me. I fully understand the conditions and have
          been provided a copy of them.



                    Defendant                                                    Date




                    U.S. Probation Officer/Designated Witness                    Date
